Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 1 of 6 PageID 139




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

DERO ROOFING, LLC (A/A/O
CASA DE MARCO OF COLLIER,
INC.),

      Plaintiff,

v.                                           Case No.: 2:21-cv-688-SPC-MRM

TRITON, INC.,

      Defendant.
                                       /

            ORDER GOVERNING TELEPHONIC PROCEEDINGS

      The Court scheduled a telephonic hearing. (See Doc. 10). All hearing

participants must comply with the following requirements:

      1.     All or None: Unless the Court specifies differently in a prior or

subsequent order, all parties, counsel, or other persons who intend to participate in

the hearing must do so by telephone. In other words, no participant may separately

appear in person for the hearing.

      2.     Start Time: All participants must join the telephone conference 5-10

minutes before the hearing is scheduled to begin. Barring a delay in the Court’s daily

docket or a problem with the Court’s teleconferencing system, the hearing will begin

promptly at the time stated in the hearing notice or order scheduling the hearing.

      3.     Roll Call: The Courtroom Deputy Clerk will conduct a roll call before

the hearing begins. With the exception of court personnel, all participants joining
Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 2 of 6 PageID 140




the call must identify themselves by name when called upon to do so by either the

Courtroom Deputy Clerk or the Undersigned. The Court may sanction anyone who

joins the conference call without affirmatively identifying himself or herself by name

on the record.

      4.     Decorum: All participants must comply with M.D. Fla. R. 5.03(e).

Participants are also advised that even though the Court has granted leave to appear

by telephone, the Undersigned will nevertheless conduct the hearing in open court

and on the record just as though all participants were physically present in the

courtroom. Moreover, because the Undersigned conducts the telephonic hearing in

open court, the participants must be mindful that every sound or statement made

after a participant joins the call will be audible to everyone present in the courtroom.

      5.     Landline Telephone Preferred: All participants are strongly

encouraged to join the telephone conference using a reliable landline telephone

rather than a cellular telephone.

      6.     Speakerphone Prohibited: No participant may use a speakerphone of

any kind to participate in the telephonic hearing. If more than one attorney intends

to appear on behalf of any party, each attorney must join the telephone conference

by calling the conference line separately.

      7.     Joining the Call: All participants joining the conference line should

remain silent until court personnel ask the participants to identify themselves. The

participants are advised that the Court has only one telephone conference account




                                             2
Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 3 of 6 PageID 141




available to use for hearings of this nature. The Undersigned frequently schedules

back-to-back telephonic hearings with no break time between hearings. If another

telephonic hearing appears to be in progress at the time any participant joins the

telephone conference line, the participant must take care not to disrupt the ongoing

proceeding. The Courtroom Deputy Clerk or the Undersigned will acknowledge the

above-captioned case after the hearing in progress concludes and the Court is ready

to begin the telephonic hearing for this case.

      8.     Permission to Speak: No participant may speak during the telephonic

hearing unless (1) the Court invites the participant to speak or (2) the participant has

requested and received permission to speak.

      9.     Speaker Identity: Unless the Court calls upon a participant by name

and invites the participant to speak, any participant who speaks during the telephonic

hearing must first identify himself or herself by name before requesting permission to

speak. This requirement ensures that any subsequent transcription of the recorded

proceeding will correctly identify each speaker.

      10.    Interruption and Cross-Conversation Prohibited: The Court strictly

prohibits hearing participants from interrupting each other or from engaging in any

back-and-forth discussion during the hearing (other than the examination of a

witness) without first obtaining permission from the Court.

      11.    Muting the Line: All participants should mute the telephone on their

end when they are not speaking.




                                            3
Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 4 of 6 PageID 142




      12.    Sanctions for Placing the Call on Hold: Once a participant joins the

telephone conference line, the participant may not place the line on hold for any

reason. The Court may impose sanctions against any participant who places the

telephone conference line on hold after joining the telephonic hearing. The Court

will impose sanctions against any participant who, by placing the telephone

conference line on hold, causes hold music to disrupt the telephonic proceeding.

      13.    Inadvertent Disconnection: If the telephone conference line

inadvertently disconnects for any reason, the affected participant(s) must promptly

attempt to join the telephonic hearing again and advise the Court of the inadvertent

disconnection upon re-joining the call. If the affected participant(s) is(are) unable to

re-join the telephonic hearing for any reason, the participant(s) may call the

Undersigned’s chambers main line at (239) 461-2120 to obtain immediate assistance

from chambers staff.

      14.    Transcription: The Court will electronically record the hearing and the

recording will be available for subsequent transcription as permitted by federal

judicial policy and procedure. Otherwise, the operation of recording or transmission

devices, and the broadcasting or televising of telephonic proceedings, either while

court is in session or during recesses between sessions, are strictly prohibited. See

M.D. Fla. R. 5.01. The Court will sanction anyone who violates these restrictions.




                                            4
Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 5 of 6 PageID 143




      15.    Continuing Order: Unless amended or superseded by a subsequent

written or oral court order, this Order will govern all telephonic proceedings that the

Undersigned conducts in this case.




                                           5
Case 2:21-cv-00688-SPC-MRM Document 12 Filed 09/23/21 Page 6 of 6 PageID 144




      DONE AND ORDERED in Fort Myers, Florida on September 23, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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